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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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Inre Chapter 11
Nortel Networks Inc., e¢ al.,' Case No. 09-10138 (KG)
Debtors. Jointly Administered
een X

NOTICE OF WITHDRAWAL OF PROOF(S) OF CLAIM

Kenneth Grelck hereby withdraws his proofs of claim with prejudice in the above-
captioned cases (Proof of Claim Nos. 2660 and 2661).

Dated: Morrisville, NC ..
August 1, 2012 =

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UW 7 Tarkington Cl CT ~
dhorrisville NC 27560
Tel. 919-491-7466 oo
kengrelck@yahoo.com eS

' The Debtors in these chapter 1] cases, along with the last four digits of each Debtor's tax identification

number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Norte] Altsystems Inc.
(9769), Nortel Altsystems International Inc, (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U,.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://chapter11.epiqsystems.com/nortel.
